
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 96-1206


                   THE INTERNATIONAL ASSOCIATION OF MACHINISTS AND
                         AEROSPACE WORKERS, AFL-CIO, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                        WINSHIP GREEN NURSING CENTER, ET AL.,

                                Defendants, Appellees.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                        Torres* and Saris,** District Judges.
                                             _______________

                              _________________________

               Mark  Schneider,  with whom  John  M.  West and  Bredhoff  &amp;
               _______________              ______________      ___________
          Kaiser, P.L.L.C. were on brief, for appellants.
          ________________
               Richard L. O'Meara, with whom Charles P. Piacentini, Jr. and
               __________________            __________________________
          Murray, Plumb &amp; Murray were on brief, for appellees.
          ______________________

                              _________________________

                                  December 30, 1996

                              _________________________

          ______________
          *Of the District of Rhode Island, sitting by designation.
          **Of the District of Massachusetts, sitting by designation.
















                    SELYA,  Circuit Judge.    In this  eccentric case,  the
                    SELYA,  Circuit Judge.
                            _____________

          International Association  of  Machinists and  Aerospace  Workers

          (IAM or Union) charged an employer, Winship Green  Nursing Center

          (Winship), with violating  the Lanham Act, 15 U.S.C.    1051-1127

          (1994),  through  its  unauthorized  use  of  a service  mark  on

          propaganda disseminated during a union organizing campaign.1  The

          district court granted Winship's  motion for brevis  disposition,
                                                       ______

          reasoning that  the Union's  claim failed to  satisfy the  Lanham

          Act's jurisdictional  requirements because  (1) the  parties were

          not  competing for  the  sale  of  commercial services,  and  (2)

          Winship's  admittedly  unauthorized  use   of  the  mark  was  in

          connection with  services offered  by the markholder  rather than

          services offered by  the infringer.   See International Ass'n  of
                                                ___ _______________________

          Machinists  v. Winship Green Nursing Ctr., 914 F. Supp. 651, 655-
          __________     __________________________

          56 (D. Me.  1996).  The  Union appeals.   We affirm, albeit  on a

          different ground.

          I.  BACKGROUND
          I.  BACKGROUND

                    We present the basic facts in the light most flattering

          to  the party vanquished by  summary judgment.   All the relevant

          events occurred in 1994, and all dates refer to that year.

                                          A
                                          A

                    In May  the Union  mounted a  campaign to organize  the

                              
          ____________________

               1An IAM  official, Dale Hartford,  is also a  plaintiff, and
          two affiliates  of Winship (Hillhaven Corp.  and First Healthcare
          Corp.) are codefendants.  Since the  presence of these additional
          parties  does not  affect  the issues  on  appeal, we  treat  the
          litigation  as  if it  involved  only  the  Union (as  plaintiff-
          appellant) and Winship (as defendant-appellee).

                                          2














          nonprofessional employees  at Winship's facility in  Bath, Maine.

          Not   surprisingly,  management  resisted   this  initiative  and

          exhorted the affected employees to vote against IAM's election as

          a collective bargaining  representative.  As  part of its  retort

          Winship  hand-delivered  two  pieces  of  campaign  literature to

          employees in the putative  bargaining unit.  These handouts  form

          the basis for IAM's lawsuit.

                    1.  The  First Flier.   In July  Winship distributed  a
                    1.  The  First Flier.
                        ________________

          three-page flier, the first page of which asks rhetorically:

                    WHAT  WOULD YOU  DO IF  YOU GOT  THE ATTACHED
                    LETTERS?
                    WOULD YOU BE ABLE TO FIND ANOTHER JOB?
                    HOW WOULD YOU PAY YOUR BILLS?
                    WOULD YOU WISH THAT THE MACHINISTS UNION  HAD
                    NEVER GOTTEN IN AT WINSHIP GREEN?

          The  flier then advises recipients  that "IT'S NOT  TOO LATE" and

          implores them  to "GIVE  [certain  named managers]  A CHANCE"  by

          "VOT[ING] NO ON  AUGUST 4."  The  letters, addressed individually

          to particular  employees and dated  one year after  the scheduled
                                                       _____

          election, comprise the second and third pages of the flier.   One

          letter purports to be written on the Union's letterhead, complete

          with a reproduction of the IAM service mark  (consisting of a set

          of  machinist's tools surrounded by a gear and the IAM name)2 and

          the facsimile signature of an IAM plenipotentiary, Dale Hartford.

                              
          ____________________

               2Service marks  and  trademarks  function  to  identify  the
          source  of  services and  goods,  respectively.   The  difference
          between the  two types of marks is not relevant here, and thus we
          will apply case law involving either form.  See Star Fin. Servs.,
                                                      ___ _________________
          Inc. v. AASTAR Mortgage Corp., 89  F.3d 5, 8 n.1 (1st Cir. 1996);
          ____    _____________________
          Volkswagenwerk Aktiengesellschaft  v. Wheeler, 814  F.2d 812, 815
          _________________________________     _______
          n.1 (1st Cir. 1987).

                                          3














          This  missive suggests that the Union had notified Winship of its

          obligation,   pursuant  to  an   invented  collective  bargaining

          agreement, to terminate the recipient's employment because of her

          failure  to  pay certain  assessments  (e.g., union  dues  and an

          initiation fee).  The other epistle, signed by Winship's director

          of  operations, is  also  postdated.   It acknowledges  Winship's

          receipt  of the notice and professes to inform the addressee that

          the company must honor the Union's request.

                    2.   The Second Flier.  The remaining piece of campaign
                    2.   The Second Flier.
                         ________________

          literature,  disseminated  by  Winship  a  few  days  before  the

          election, urges the reader to vote against unionization and warns

          that union  membership will bring  significant financial burdens.

          This  flier  contains  a  simulated  invoice  inscribed  on  what

          purports  to be IAM's letterhead (and which bears the IAM service

          mark).  Under  a heading  that reads "PAYABLE  TO THE  MACHINISTS

          UNION BY [employee's name]", the invoice lists amounts designated

          as  union  dues, an  initiation  fee,  and  fines.3   Commentary,

          undiluted by subtlety, accompanies this listing:  "NO MATTER WHAT

          THE  UNION HAS  TOLD  YOU    JUST ASK  THE  EMPLOYEES AT  LOURDES

          HOSPITAL" AND "JUST ASK  THE 13 EMPLOYEES AT GENERAL  ELECTRIC IN

          SOUTH PORTLAND  WHO  WERE  FINED  FOR CROSSING  THE  PICKET  LINE

          THERE."    Large,  bold letters  at  the  bottom  of the  invoice

          proclaim:  "WITHOUT THE MACHINISTS UNION, DO NOT PAY THIS BILL."

                              
          ____________________

               3The  stated  amounts  are  not  only  apocryphal  but  also
          extravagant.    During  the   organizing  drive,  IAM  repeatedly
          declared  that there  would  be no  initiation  fee and  that  no
          worker's monthly dues would exceed $20.

                                          4














                    Notwithstanding Winship's tactics   or, perhaps, due to

          them    the employees  chose IAM  as their  collective bargaining

          representative in the August 4 election.

                                          B
                                          B

                    The Union  proved to be a  sore winner.  It  soon filed

          suit against Winship  alleging inter alia  trademark infringement
                                         _____ ____

          and unfair competition under the Lanham Act.4  The Union premised

          its  federal claims on the theory that Winship's unauthorized use

          of the registered service mark occurred "in connection with . . .

          services," namely, IAM's  representational services, and  thereby

          transgressed sections 32(1) and 43(a) of the  Lanham Act.  See 15
                                                                     ___

          U.S.C.     1114(1)(a)  &amp;  1125(a) (quoted  infra  note 5).    The
                                                     _____

          district court  rejected this  theory for the  reasons previously

          mentioned.   See  IAM, 914  F.  Supp.  at 655-56.    This  appeal
                       ___  ___

          followed.

          II.  THE SUMMARY JUDGMENT STANDARD
          II.  THE SUMMARY JUDGMENT STANDARD

                    Though the case  is unconventional,  the generic  legal

          standard  that we  must apply  is prosaic.   Summary  judgment is

          appropriate in  trademark infringement cases,  as elsewhere,  "if

          the  pleadings,  depositions,  answers  to  interrogatories,  and

          admissions on  file, together with  the affidavits, if  any, show

                              
          ____________________

               4IAM's  complaint  also  embodied a  salmagundi  of  pendent
          state-law  claims.   The  district court  dismissed these  claims
          without prejudice  coincident with the entry  of summary judgment
          on  the federal  claims.   See  IAM,  914 F.  Supp. at  656.   We
                                     ___  ___
          understand  that the Union is pursuing these claims in a separate
          state  court action.   Finally,  the complaint  sought injunctive
          relief  under  the Norris-LaGuardia  Act,  29  U.S.C.     101-115
          (1994), but the Union now concedes the infirmity of this request.

                                          5














          that  there is no genuine issue as  to any material fact and that

          the moving party is entitled  to a judgment as a matter  of law."

          Boston  Athletic Ass'n  v. Sullivan,  867 F.2d  22, 24  (1st Cir.
          ______________________     ________

          1989) (quoting Fed.  R. Civ.  P. 56(c)).   Generally speaking,  a

          fact is "material" if  it potentially affects the outcome  of the

          suit, see Garside  v. Osco Drug, Inc., 895 F.2d  46, 48 (1st Cir.
                ___ _______     _______________

          1990),  and  a  dispute over  it  is  "genuine"  if the  parties'

          positions on the issue are supported by conflicting evidence, see
                                                                        ___

          Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).  While
          ________    ___________________

          an  inquiring court is constrained  to examine the  record in the

          light  most favorable  to the  summary judgment  opponent and  to

          resolve  all reasonable  inferences  in that  party's favor,  see
                                                                        ___

          Hachikian v. FDIC, 96  F.3d 502, 504 (1st Cir. 1996), defeating a
          _________    ____

          properly  documented motion  for summary  judgment  requires more

          than  the jingoistic brandishing of  a cardboard sword.   This is

          especially  true  in respect  to claims  or  issues on  which the

          nonmovant  bears the burden  of proof; in  such circumstances she

          "must reliably  demonstrate  that specific  facts  sufficient  to

          create an authentic dispute exist."  Garside, 895 F.2d at 48; see
                                               _______                  ___

          also Anderson, 477 U.S. at 256.
          ____ ________

                    We review de novo the district court's grant of summary

          judgment.  See Mack  v. Great Atl. &amp; Pac. Tea  Co., 871 F.2d 179,
                     ___ ____     __________________________

          181  (1st Cir.  1989).   Moreover, an  appellate tribunal  is not

          bound by the lower  court's rationale but may affirm the entry of

          judgment  on any independent ground  rooted in the  record.  See,
                                                                       ___

          e.g., Hachikian, 96 F.3d at 504; Garside, 895 F.2d at 49.
          ____  _________                  _______


                                          6














          III.  ANALYSIS
          III.  ANALYSIS

                    Our analysis proceeds in five parts.



                                          A
                                          A

                    Trademark  infringement  and  unfair  competition  laws

          exist largely  to protect  the public  from  confusion anent  the

          actual source of goods or services.  See, e.g., Star Fin. Servs.,
                                               ___  ____  _________________

          Inc. v.  AASTAR Mortgage  Corp., 89  F.3d 5,  9 (1st  Cir. 1996);
          ____     ______________________

          DeCosta v. Viacom Int'l, Inc., 981 F.2d 602, 605 (1st Cir. 1992),
          _______    __________________

          cert. denied, 509 U.S. 923 (1993); 3 J. Thomas McCarthy, McCarthy
          _____ ______                                             ________

          on Trademarks and Unfair Competition   23.01  (3d ed. 1996).  The
          ____________________________________

          Lanham  Act is cast  in this mold.   Generally speaking,  the Act

          proscribes the  unauthorized  use  of a  service  mark  when  the

          particular usage causes a likelihood of confusion with respect to

          the identity of  the service  provider.5  See  WCVB-TV v.  Boston
                                                    ___  _______     ______
                              
          ____________________

               5Section  32(1)  of  the  Lanham  Act  governs  infringement
          claims.  It stipulates in pertinent part:
                         Any  person  who   shall,  without   the
                    consent of the registrant  
                         (a)    use    in    commerce    any
                         reproduction, counterfeit, copy, or
                         colorable imitation of a registered
                         mark in connection  with the  sale,
                         offering for sale, distribution, or
                         advertising   of   any   goods   or
                         services on or  in connection  with
                         which such use  is likely to  cause
                               _____________________________
                         confusion, or to cause  mistake, or
                         _________
                         to deceive; . . .

                         shall be  liable in a  civil action
                         by the registrant . . . .

          15  U.S.C.   1114(1) (emphasis supplied).   Section 43(a) governs
          unfair competition claims.  It stipulates in pertinent part:
                    Any person who, on  or in connection with any

                                          7














          Athletic Ass'n, 926 F.2d 42, 44 (1st Cir. 1991); see also Societe
          ______________                                   ___ ____ _______

          des Produits Nestle, S.A.  v. Casa Helvetia, Inc., 982  F.2d 633,
          _________________________     ___________________

          641 (1st  Cir. 1992) (explaining  in respect  to trademarks  that

          "only  those appropriations . .  . likely to  cause confusion are

          prohibited").  Consequently, likelihood of confusion often is the

          dispositive  inquiry in a Lanham  Act case.   See, e.g., WCVB-TV,
                                                        ___  ____  _______

          926  F.2d  at  44; Pignons  S.A.  de  Mecanique  de Precision  v.
                             __________________________________________

          Polaroid Corp.,  657 F.2d 482,  492 (1st  Cir. 1981).   So it  is
          ______________

          here.

                                          B
                                          B

                    To demonstrate likelihood of confusion a markholder (or

          one claiming by,  through, or under her) must  show more than the

          theoretical   possibility  of  confusion.    See  American  Steel
                                                       ___  _______________

          Foundries  v.  Robertson, 269  U.S.  372,  382 (1926)  (requiring
          _________      _________

          probable confusion); Star, 89 F.3d at 10 (requiring evidence of a
                               ____

          substantial likelihood of confusion); accord 3 McCarthy, supra,  
                                                ______             _____

          23.01[3][a].   Just as one tree  does not constitute a forest, an

                              
          ____________________

                    goods or services, . . . uses in commerce any
                    word, term,  name, symbol, or device . . . or
                    any false designation of origin . . . which  
                         (A) is likely  to cause  confusion,
                                ___________________________
                         or to cause  mistake, or to deceive
                         as   to   .   .   .   the   origin,
                         sponsorship,  or approval  of [such
                         person's]   goods,   services,   or
                         commercial  activities  by  another
                         person . . .

                    shall  be liable  in  a civil  action by  any
                    person who believes that  he or she is  or is
                    likely to be damaged by such an act.

          15 U.S.C.   1125(a) (emphasis supplied).

                                          8














          isolated instance of confusion does not prove probable confusion.

          To the contrary,  the law  has long demanded  a showing that  the

          allegedly  infringing conduct  carries  with it  a likelihood  of

          confounding   an   appreciable  number   of   reasonably  prudent

          purchasers exercising ordinary care.   See McLean v. Fleming,  96
                                                 ___ ______    _______

          U.S.  245, 251 (1877); Mushroom Makers, Inc. v. R.G. Barry Corp.,
                                 _____________________    ________________

          580  F.2d 44,  47 (2d  Cir. 1978),  cert.  denied, 439  U.S. 1116
                                              _____  ______

          (1979); Coca-Cola  Co. v.  Snow Crest Beverages,  Inc., 162  F.2d
                  ______________     ___________________________

          280, 284 (1st  Cir.), cert. denied,  332 U.S. 809  (1947).   This
                                _____ ______

          means,  of course,  that confusion  resulting from  the consuming

          public's  carelessness, indifference, or  ennui will not suffice.

          See,  e.g., United States v.  88 Cases, More  or Less, Containing
          ___   ____  _____________     ___________________________________

          Bireley's Orange Beverage, 187 F.2d 967, 971 (3d Cir.) (inferring
          _________________________

          that "the  legislature contemplated the reaction  of the ordinary

          person who is neither savant nor  dolt, [and] who . . . exercises

          a normal measure  of the  layman's common  sense and  judgment"),

          cert. denied, 342  U.S. 861 (1951); see also  Indianapolis Colts,
          _____ ______                        ___ ____  ___________________

          Inc. v. Metropolitan  Baltimore Football Club Ltd.,  34 F.3d 410,
          ____    __________________________________________

          414  (7th Cir.  1994) (explaining  that the  Lanham Act  does not

          "protect the most gullible fringe of the consuming public").

                    We  typically  consider   eight  factors  in  assessing

          likelihood  of confusion:  (1)  the similarity of  the marks; (2)

          the similarity  of the  goods (or, in  a service  mark case,  the

          services); (3) the relationship  between the parties' channels of

          trade;  (4)  the  juxtaposition  of their  advertising;  (5)  the

          classes  of prospective  purchasers; (6)  the evidence  of actual


                                          9














          confusion; (7)  the defendant's intent in  adopting its allegedly

          infringing mark; and (8)  the  strength of the  plaintiff's mark.

          See Star,  89 F.3d at 10; Sullivan,  867 F.2d at 29.   While this
          ___ ____                  ________

          compendium  does not conform easily to the peculiar facts of this

          case,  it  is  not  intended  to  be either  all-encompassing  or

          exclusive.   See DeCosta v. CBS,  Inc., 520 F.2d 499, 513-14 (1st
                       ___ _______    __________

          Cir.  1975),  cert. denied,  423 U.S.  1073  (1976).   The listed
                        _____ ______

          factors are meant to be used as guides.  See Astra Pharmaceutical
                                                   ___ ____________________

          Prods., Inc.  v. Beckman Instruments,  Inc., 718 F.2d  1201, 1205
          ____________     __________________________

          (1st Cir. 1983).   No one listed factor is determinative, and any

          other  factor that  has a  tendency to  influence the  impression

          conveyed to  prospective purchasers by  the allegedly  infringing

          conduct  may  be weighed  by the  judge  or jury  in  gauging the

          likelihood of confusion.  We completely agree with the authors of

          the Restatement  that "[n]o mechanistic  formula or list  can set

          forth  in advance the variety  of factors that  may contribute to

          the particular marketing context of an actor's use."  Restatement

          (Third) of Unfair Competition   21 cmt. a (1995).

                    Two related  points are  worth making.   First, because

          the listed factors  must be evaluated in  context, any meaningful

          inquiry  into   the  likelihood  of  confusion  necessarily  must

          replicate  the  circumstances  in  which  the  ordinary  consumer

          actually confronts  (or probably  will confront)  the conflicting

          mark.   See, e.g.,  Libman Co.  v. Vining  Indus., Inc., 69  F.3d
                  ___  ____   __________     ____________________

          1360, 1362 (7th Cir. 1995), cert. denied, 116 S. Ct. 1878 (1996);
                                      _____ ______

          Black  Dog Tavern  Co. v.  Hall, 823  F. Supp.  48, 55  (D. Mass.
          ______________________     ____


                                          10














          1993).   Second, Rule  56 places a  special gloss upon  the usual

          analytic approach.  On summary  judgment the reviewing court must

          decide  whether the evidence as a whole, taken most hospitably to

          the markholder,  generates a  triable issue  as to likelihood  of

          confusion.   See Sullivan,  867 F.2d  at 29;  Astra, 718  F.2d at
                       ___ ________                     _____

          1205;  see also 3 McCarthy, supra,   23.11 (observing that, while
                 ___ ____             _____

          legal  precedent governs the analysis, the result of each case is

          controlled by the totality of its facts).

                    Applying these  principles, we conclude that  the Union

          bears  the  burden  here  of adducing  "significantly  probative"

          evidence,  Anderson,  477  U.S.  at  249-50  (citation  omitted),
                     ________

          tending to show that an appreciable number of  prospective voters

          (i.e., employees within the defined bargaining unit) were in fact

          likely  to be confused or misled into believing that the service-

          marked campaign  literature was produced, sent,  or authorized by

          IAM.  The Union has not reached this plateau.

                                          C
                                          C

                    As  we set  the  scene  for  the  main  thrust  of  our

          analysis,  we acknowledge that the campaign stump is an odd stage

          for playing out  a Lanham Act  drama.  In the  typical commercial

          setting, confusion as to  the source of goods or  services occurs

          when there is an unacceptably high risk that a buyer may purchase

          one product or service in the mistaken belief that she is  buying

          a different product  or service.  See, e.g., Star,  89 F.3d at 9.
                                            ___  ____  ____

          But the instant case is well off  the beaten track.  It does  not

          involve  two entrepreneurs  vying to  sell competing  products or


                                          11














          services  in the traditional sense.   Rather, IAM  was angling to

          represent the workers and,  although Winship opposed that effort,

          it was neither offering nor seeking to provide a similar service.

          In  the  vernacular of  the  marketplace, IAM  was  "selling" its

          services to prospective union members and Winship was "selling" a

          negative   the  lack of a need for any  such services or service-

          provider.

                    This twist  has significant implications for  a court's

          assessment  of  the  likelihood  of confusion.    If  we  assume,

          favorably to the  Union, that confusion as  to the source  of the

          documents bearing  the IAM service  mark may at  least indirectly

          deter prospective purchasers (voters within the bargaining  unit)

          from acquiring (voting for) IAM's representational services, that

          deterrent will exist only  if, and to the extent  that, confusion

          causes  purchasers to be misinformed about the nature or value of

          the  services.   We  think it  follows  inexorably that,  if  the

          electorate  can readily  identify Winship  as  the source  of the

          promotional  materials,  the  deterrent  vanishes.    See,  e.g.,
                                                                ___   ____

          McIntyre v. Ohio  Elections Comm'n,  115 S. Ct.  1511, 1519  n.11
          ________    ______________________

          (1995) (suggesting that once people know the source of a writing,

          they can  evaluate its  message, and, at  that point, "it  is for

          them to decide what is responsible, what is valuable, and what is

          truth") (citation and internal quotation marks omitted).  In that

          event,  there is no misleading as to  the genesis of the letters,

          and the  voters can assess whether  the Winship-authored handouts

          accurately describe the Union's services, or, instead, are merely


                                          12














          a   manifestation  of  Winship's  no-holds-barred  commitment  to

          dissuade  the  voters  from  "purchasing" those  services.    Put

          another  way, knowledge as to the source of the materials dispels

          incipient confusion.

                    The Union attempts to confess  and avoid.  It  contends

          that  the recipients'  ability  to ascertain  the  source of  the

          documents does not necessarily negate confusion.  This contention

          hinges on the  theory that  employees may have  thought that  the

          letters,  even  if delivered  by  the  company, were  actual  IAM

          documents which  Winship procured  and then draped  in anti-union

          invective.  But  that theory does not  fit the facts:   patently,

          this  is neither  an  instance in  which an  employer distributes

          copies  of a  notice  previously sent  by  a union  to  employees

          elsewhere  and adds anti-union  commentary, nor  one in  which an

          employer makes minor emendations  to an authentic union document.

          The  letters  and  the  invoice  are composed  around  names  and

          circumstances  indigenous  to   this  particular   organizational

          effort.   Among other things, the letters bear a date significant

          in its  relation to  the  scheduled election;  they address  each

          Winship employee by name and home address; and they identify this

          employer.   Source-identifiers specific  to the Winship  election

          are even more pervasive in the fictitious invoice.

                    The Union's fallback position seems to be that, even if

          it is nose-on-the-face plain that the letters and the invoice are

          not  replicas of  genuine IAM  materials, the  affected employees

          still may have believed  that they somehow were based  on genuine


                                          13














          materials.  We think  this construct is both legally  unsound and

          factually unsupported.  In the first place, a recipient's ability

          to  recognize that the alleged infringer, at a minimum, must have

          substantially  added  to or  altered  a  document alleviates  any

          confusion as to its immediate source.   Cf. Warner Bros., Inc. v.
                                                  ___ __________________

          American Broadcasting  Cos., 720  F.2d 231,  246  (2d Cir.  1983)
          ___________________________

          (suggesting that  lack of  substantial similarity leaves  "little

          basis"  for asserting  likelihood of  confusion  in a  Lanham Act

          claim).    In  the  second place,  even  indulging  the  arguendo

          assumption that  the contrived  documents  were based  on a  real

          scenario, the  alterations  are sufficiently  extensive  that  an

          ordinary recipient,  possessing a modicum  of intelligence, could

          not help but recognize that Winship had tampered so substantially

          with  the documents  that they  could no  longer be  perceived as

          emanating  from  the  Union.6   In  other  words,  the documents'

          credibility  would depend  on the  voters' assessment  of whether

          Winship was  telling the truth.  See McIntyre, 115 S. Ct. at 1519
                                           ___ ________

                              
          ____________________

               6An  analogous principle  in  copyright law  is instructive.
          Absent  direct evidence  of copyright  infringement, a  plaintiff
          must prove "substantial  similarity" between the  copyrighted and
          contested materials.   See, e.g.,  NEC Corp. v.  Intel Corp.,  10
                                 ___  ____   _________     ___________
          U.S.P.Q.2d 1177, 1183 (N.D.  Cal. 1989).  The applicable  test is
          "whether the work  is recognized  by an observer  as having  been
          taken from the copyrighted source."  Id. at 1184.  Even if a work
                                               ___
          is  copied,   however,  no  copyright   infringement  exists   if
          substantial  changes  render the  work  unrecognizable.   See  v.
                                                                    ___
          Durang, 711 F.2d  141, 142  (9th Cir. 1983)  (affirming grant  of
          ______
          summary judgment  for the defendant); NEC Corp., 10 U.S.P.Q.2d at
                                                _________
          1186-87; cf. A. Dean Johnson, Music  Copyrights:  The Need for an
                   ___                  ___________________________________
          Appropriate  Fair Use Analysis  in Digital  Sampling Infringement
          _________________________________________________________________
          Suits, 21 Fla. St. U. L. Rev. 135, 158-59 (1993)  (noting greater
          _____
          likelihood of fair  use in copyright cases if  alterations render
          an original music recording unrecognizable).

                                          14














          n.11  (discussing the  value  of  knowing  "the identity  of  the

          source"  for the  purpose of  judging the  truthfulness of  ideas

          contained  in a writing).  We conclude, therefore, with regard to

          these  documents, that as long  as employees can ascertain either

          who authored  or who substantially modified  the literature, they

          will   readily  recognize  the  entire  document  (including  the

          letters,  in one  case, and the  invoice, in the  second case) as

          propaganda, and they will be in  a position to gauge its accuracy

          accordingly.

                    This emphasis on source recognition  takes into account

          the  setting  and  the  juxtaposition of  the  parties.    Labor-

          management  relations  have  not  mellowed  since  Justice  Clark

          observed three decades  ago that representational  campaigns "are

          ordinarily  heated  affairs .  .  .  frequently characterized  by

          bitter  and extreme  charges,  countercharges, unfounded  rumors,

          vituperations,   personal  accusations,   misrepresentations  and

          distortions."  Linn v.  United Plant Guard Workers of  Am., Local
                         ____     _________________________________________

          114, 383  U.S. 53,  58 (1966).   Because  exaggeration, sometimes
          ___

          crossing  the line into outright  falsehood, is a  staple in such

          campaigns, "consumers"  (i.e., affected  workers)  are on  notice

          that both sides likely  will embellish with scant regard  for the

          confining restraints imposed  by the truth.  See Baumritter Corp.
                                                       ___ ________________

          v.  NLRB,  386  F.2d  117   (1st  Cir.  1967)  (explaining   that
              ____

          inaccuracies are  indigenous to campaign propaganda  in the labor

          relations  milieu).  The  acrimonious literature  disseminated by

          both parties indicates that this campaign was no exception to the


                                          15














          rule.7

                                          D
                                          D

                    Having woven the contextual tapestry  against which the

          Union's  claims must  be  viewed, we  turn  now to  the  octet of

          factors that typically inform the likelihood of confusion.  While

          the strange configuration of  this case renders certain of  those

          factors irrelevant or, at least, difficult to apply   square pegs

          never  fit snugly  in round  holes    we make  the effort  in the

          interest of completeness.  Moreover, other relevant circumstances

          compensate to some degree for this lack of fit and we intersperse

          them throughout our discussion.  We deem such circumstances to be

          of especially  great importance here precisely  because this case

          falls well outside the customary confines of the Lanham Act.

                    1.   Similarity  of Marks.   The  service mark  used by
                    1.   Similarity  of Marks.
                         ____________________

          Winship  is not merely similar;  it is identical    a photocopied

          reproduction.  Still,  similarity is determined  on the basis  of

          the designation's total  effect, see, e.g., Pignons, 657  F.2d at
                                           ___  ____  _______

          487 (considering additional,  source-identifying words printed on

          goods and substantial differences in packaging), and infringement

          "does not exist, though the marks be identical and the goods very

          similar,   when  the   evidence  indicates   no   [likelihood  of

          confusion]."  James Burrough Ltd. v. Sign of the Beefeater, Inc.,
                        ___________________    ___________________________
                              
          ____________________

               7For  example, one  IAM  flier of  the  "when did  you  stop
          beating your wife?"  variety, asks:   "WHAT LIES  OR HALF  TRUTHS
          DO[ES  WINSHIP] PLAN  TO  SPREAD DURING  OUR  DEBATE?"   The  IAM
          materials also describe anticipated "company tactics" or "tricks"
          in  unflattering  terms  and  warn  employees  to  "LOOK OUT  FOR
          CORPORATE  TRAPS."    The  Winship  literature,  discussed above,
          speaks for itself.

                                          16














          540  F.2d  266, 274  (7th  Cir. 1976).    What is  more,  we have

          recognized that in certain  circumstances otherwise similar marks

          are  not likely to  be confused if  they are  used in conjunction

          with  clearly displayed names,  logos or other source-identifying

          designations of the manufacturer.  See Aktiebolaget Electrolux v.
                                             ___ _______________________

          Armatron Int'l, Inc., 999 F.2d 1, 4 (1st Cir. 1993); Pignons, 657
          ____________________                                 _______

          F.2d  at  487.   Here,  the lengthy  propagandistic  message that

          Winship printed in large  type on the fictitious invoice  and the

          conspicuous, easily identifiable fliers  it sent to introduce the

          letters dilute  the inference that might otherwise  be drawn from

          the similarity between the marks.

                    2.  Similarity of Services.  Because the parties do not
                    2.  Similarity of Services.
                        ______________________

          offer competing  services, there is no  similitude.  Furthermore,

          even  if the documents  are evaluated in the  abstract, we do not

          think that  any reasonable person, viewing them in their entirety

          and in  conjunction with  the accompanying materials,  would find

          them similar to IAM's authentic campaign literature.

                    On the one hand, any similarity to actual IAM materials

          is limited to the vitriolic tone, the presence of the IAM service

          mark, and the facsimile signature.  On the other hand, unlike any

          genuine IAM  communication, the letters  are postdated by  a full

          year and address  the employees as if  they already had opted  in

          favor of union representation.  The next piece of propaganda (the

          invoice) contains  anti-union messages  that are longer  and much

          more  prominent than  any other  text.   And, moreover,  in stark

          contrast to  handbills distributed by IAM  which invariably urged


                                          17














          employees to vote "yes" (i.e., for a union), the letters at issue

          were attached to rabidly anti-union fliers exhorting employees to

          vote "no" (i.e., against a union).  In  short, the bogus letters,

          when compared to  the real McCoy,  are distinctive in  appearance

          and antithetical  in content.  Given  such gross dissimilarities,

          it cannot reasonably be  inferred that ordinarily prudent workers

          would be likely to confuse the source of the letters.   See Senco
                                                                  ___ _____

          Prods.,  Inc. v.  International Union  of  Elec. Workers,  311 F.
          _____________     ______________________________________

          Supp.  590,  592  (S.D.  Ohio 1970)  (finding  no  likelihood  of

          confusion as to  sponsorship of handbills  circulated by a  union

          bearing  employer trademark  in  bold print  on  the first  line,

          followed by union identifiers of equal prominence).

                    3-5.   Channels  of Trade  and Advertising;  Classes of
                    3-5.   Channels  of Trade  and Advertising;  Classes of
                           ________________________________________________

          Prospective Purchasers.   Following circuit precedent, see Equine
          Prospective Purchasers.
          ______________________                                 ___ ______

          Technologies, Inc.  v. Equitechnology, Inc., 68 F.3d 542, 546 n.5
          __________________     ____________________

          (1st  Cir.  1995),  we address  the  next  three  factors in  the

          ensemble.   The parties'  channels of trade  are widely disparate

          (reduced to  bare  essence, IAM  sells representational  services

          whereas  Winship  sells  nursing  home  beds),  and  there  is no

          evidence   that  the  channels  advertising  those  services  are

          similar.

                    To  be sure, as the  election campaign picked up steam,

          both  parties  propagandized  (and, in  that  sense,  advertised)

          through  the  same  medium (print),  and  both  of  them targeted

          exactly  the same  narrowly-defined  cadre of  individuals.   The

          class  of prospective  purchasers  is necessarily  restricted  to


                                          18














          those  individuals and  is,  therefore, identical.   Still,  that

          identicality does  not advance the  Union's cause in  the special

          circumstances of this case.

                    On  this point,  the requisite  inquiry is  not limited

          merely to determining whether the class of prospective purchasers

          is the same or different.   Instead, a court called upon to assay

          likelihood  of confusion  must ponder  the sophistication  of the

          class, thereby taking account of the context in which the alleged

          infringer uses the mark.  See, e.g., Astra, 718 F.2d  at 1206-07;
                                    ___  ____  _____

          HQ  Network Sys.  v. Executive Headquarters,  755 F.  Supp. 1110,
          ________________     ______________________

          1118-19 (D. Mass.  1991).  Here, the  organizational effort began

          in  May.  Among  other things, the  Union held open  meetings and

          sent the  affected workers periodic "organizing  updates."  Thus,

          by  late July   when  Winship began to  distribute the challenged

          documents   persons within  the class could not help  but know of

          the ongoing campaign and of its excesses.

                    We  must presume that  the class members  are of normal

          intelligence,  see McLean, 96 U.S.  at 251; Church  of the Larger
                         ___ ______                   _____________________

          Fellowship, Unitarian Universalist v. Conservation Law Found.  of
          __________________________________    ___________________________

          New Eng., Inc.,  221 U.S.P.Q. 869,  873 (D. Mass. 1983),  and the
          ______________

          previous months'  electioneering would have given  them a certain

          degree of  enforced sophistication.   Common sense  dictates that

          this group    above all others   would  filter the rivals' claims

          through the seine of this knowledge.  Cf. Linn, 383 U.S. at 60-62
                                                ___ ____

          (discussing  the  NLRB's  toleration  of  abusive and  inaccurate

          statements made during organizational campaigns and agreeing that


                                          19














          the ultimate appraisal  of such  statements must be  left to  the

          good sense of those voting in the elections).  Accordingly, class

          members  were  especially  unlikely  to be  misled  by  Winship's

          unauthorized use of the IAM mark.

                    6.   Actual  Confusion.   IAM proffers  Dale Hartford's
                    6.   Actual  Confusion.
                         _________________

          affidavit as the mainstay of its case (indeed, its solitary piece

          of evidence) on  the issue  of actual confusion.   The  affidavit

          states briefly  that "several"  employees asked  whether Hartford

          had in fact written the letter that bore his signature.8  It also

          reports  that  one  employee  questioned  whether  she  would  be

          required to pay $300 in dues and a $200 initiation fee.  Hartford

          opines  that "these figures  seem to have  had to have  come from

          [the apocryphal union invoice]."   This evidence, standing alone,

          is insufficient to prove actual confusion.

                    The fundamental problem with  the Hartford affidavit is

          that, even taking  its contents  as literally true,  it does  not

          undermine what is perfectly obvious from a reading of the record:

          no person of ordinary prudence  and normal intelligence, aware of

          what was happening around her, would have been confused as to the

          source  or  sponsorship  of the  letters.    For  one thing,  the

          inquiries to which Hartford alludes reveal at most that employees

          doubted whether he would have written a letter unfavorable to the

          very  cause he  had labored  to  promote.   On their  face, these
                              
          ____________________

               8Although Hartford  recalled that these statements were made
          in front of approximately ten other employees at a union meeting,
          he claimed that  he could not  locate the list of  attendees and,
          consequently,  could not name either the persons who made inquiry
          of him or those who overheard the queries.

                                          20














          inquiries do not evince actual confusion as to the source of  the

          jury-rigged  documents.    See   Restatement  (Third)  of  Unfair
                                     ___

          Competition     23  cmt.  c  (1995)  ("Evidence  of inquiries  by

          customers  as  to whether  the  plaintiff and  the  defendant are

          associated  . .  .  may not  establish  the existence  of  actual

          confusion if the nature of the inquiries indicates that consumers

          perceive a difference between  the designations and are skeptical

          of the existence of a connection between the users.").

                    For another thing, skepticism is particularly rampant  

          and  wise    as to claims  made in  the course  of any organizing
                                                             ___

          drive.  In the course of this organizing drive   a struggle which
                                   ____

          incited more than its  share of hyperbole  on both sides    class

          members  had ample reason to be skeptical.   They must have known

          that Winship distributed the fliers (which embodied the letters),

          and  they therefore  knew that  the letters had  to be  viewed in

          light  of  Winship's motivation.   In  all events,  forewarned is

          forearmed,  see Miguel  de Cervantes,  Don  Quixote de  la Mancha
                      ___                        __________________________

          (circa 1615), and, here, the Union disseminated literature in the

          early  going predicting  that management  would stoop  to dubious

          tactics.

                    The question about  dues is  an even thinner  reed.   A

          lone  inquiry   does  not  indicate  probable   confusion  of  an

          appreciable number of purchasers.  See Mushroom  Makers, 580 F.2d
                                             ___ ________________

          at  47.   Regardless, this  lone inquiry    which  questioned the

          veracity  of  the prediction  concerning  union dues     does not
          ________

          indicate  confusion as to  the source of  the fictitious invoice.
                                         ______


                                          21














          See  Pignons,   657  F.2d  at  490   (finding  consumer's  letter
          ___  _______

          expressing  surprise at  perceived affiliation  between competing

          companies "clearly insufficient" to prove actual confusion).

                    The Union strives  to persuade us  that, no matter  how

          paltry  the  evidence  of  actual confusion,  it  is  nonetheless

          adequate  to survive  testing on  summary judgment where  we must

          accept all reasonable inferences favorable to  the nonmovant.  We

          are  not convinced.   The  core purpose  of the  summary judgment

          procedure is  to "pierce  the boilerplate  of the  pleadings" and

          evaluate  the proof to determine  whether a trial  will serve any

          useful purpose.  Wynne v. Tufts Univ. Sch. of Med., 976 F.2d 791,
                           _____    ________________________

          794  (1st  Cir.  1992),  cert.  denied,  507  U.S.  1030  (1993).
                                   _____  ______

          Consequently,  summary judgment cannot be sidestepped by pointing

          to  evidence that is  merely colorable or  suggestive, see, e.g.,
                                                                 ___  ____

          Mack, 871 F.2d  at 181,  or evidence that  lacks substance,  see,
          ____                                                         ___

          e.g., Mesnick v.  General Elec. Co., 950 F.2d 816,  822 (1st Cir.
          ____  _______     _________________

          1991), cert. denied,  504 U.S.  985 (1992), or  evidence that  is
                 _____ ______

          inherently incredible, see, e.g., United States v. Joost, 92 F.3d
                                 ___  ____  _____________    _____

          7, 14 (1st Cir. 1996).

                    In this  instance, the  Union  submitted no  affidavits

          from  any   individuals  who  personally  received  the  campaign

          literature,9 and we  think that it  is inherently implausible  to
                              
          ____________________

               9In point of fact, the  only such affidavit in the  record  
          that  of an employee named Gail Snipe   states unequivocally that
          she "recognized  all of the materials  . . . to  be my employer's
          campaign  materials."  She  adds:  "The face  of the documents as
          well as the context in which the documents were presented made it
          clear that the campaign materials were from the employer, not the
          IAM."

                                          22














          infer from  the inquiries described by  Hartford that prospective

          voters  actually were confused as to the source of the materials.

          The summary  judgment paradigm requires  us to  draw and  respect

          only  reasonable  inferences; we  need  not infer  that  which is
                __________

          farfetched  or fantastic.  See Sheinkopf v. Stone, 927 F.2d 1259,
                                     ___ _________    _____

          1262 (1st  Cir. 1991); Medina-Munoz v. R.J. Reynolds Tobacco Co.,
                                 ____________    _________________________

          896 F.2d 5, 8 (1st Cir. 1990); Raskiewicz v. Town  of New Boston,
                                         __________    ___________________

          754 F.2d  38, 45 (1st Cir.),  cert. denied, 474 U.S.  845 (1985).
                                        _____ ______

          Here, the  face of  the documents,  the accompanying  fliers, the

          environment  in  which they  were  distributed, and  the  lack of

          significantly  probative evidence of  actual confusion combine to

          render unreasonable the inference that IAM would have us draw.

                    7.  Intent.   IAM relies heavily on the  principle that
                    7.  Intent.
                        ______

          when an  alleged infringer  intentionally copies a  trademark, it

          may be presumed that  she intended to cause confusion  and profit

          thereby.10  See Sullivan, 867 F.2d at 34.  But the presumption is
                      ___ ________

          inapposite in situations where there is no persuasive evidence of

          any intent  to use the mark to suggest official sponsorship.  See
                                                                        ___

          WCVB-TV, 926 F.2d at  45-46 (attaching considerable importance to
          _______

          the  alleged  infringers'  contemporaneous  offer   to  broadcast

          disclaimers,  thus  making  clear  that they  were  not  official

          sponsors of the trademarked product).
                              
          ____________________

               10This  rebuttable presumption works with maximum efficiency
          in the  commercial setting.  There, an infringer typically copies
          a trademark  to palm off her  own goods as those  of a recognized
          manufacturer, thereby free riding on the  markholder's reputation
          and  goodwill.   See  generally McCarthy,  supra,    25.01.   The
                           ___  _________            _____
          presumption  works  less  well  in  cases  that  do  not  involve
          competitors.

                                          23














                    The template of this  case is similar to that  of WCVB-
                                                                      _____

          TV.     Winship  incorporated  the  bogus   documents  in  fliers
          __

          prominently displaying anti-union commentary and containing pleas

          by  named managers for votes  against unionization.  In addition,

          the  fake invoice itself  includes what amounts  to a conspicuous

          disclaimer.   Under  the circumstances, no  reasonable factfinder

          could    conclude,     notwithstanding    Winship's    purposeful

          misappropriation  of  the  IAM  service mark,  that  the  company

          intended to mislead employees about the source of the handouts.

                    8.   Strength.  Under the Lanham Act strong marks enjoy
                    8.   Strength.
                         ________

          the greatest protection against infringement.   See Aktiebolaget,
                                                          ___ ____________

          999 F.2d at 5; Pignons, 657 F.2d at 492.  The IAM service mark is
                         _______

          robust, having been  duly registered and widely promoted for over

          thirty years.  But the  muscularity of a mark, in and  of itself,

          does  not relieve  the  markholder  of  the  burden  to  prove  a

          realistic likelihood of confusion.  See Aktiebolaget, 999 F.2d at
                                              ___ ____________

          5;  Pignons, 657  F.2d  at 492.   Because  the Union  has utterly
              _______

          failed to  produce evidence sufficient  to meet that  burden, see
                                                                        ___

          supra, the mark's strength cannot carry the day.
          _____

                                          E
                                          E

                    After giving due weight  to each factor and considering

          the unique circumstances that necessarily inform our analysis, we

          find no  colorable  basis for  a  likelihood of  confusion,  and,

          hence,  no trialworthy  Lanham  Act  claim.    In  reaching  this

          conclusion  we stress  the significance  of the  factual setting.

          Here, the ambiance powerfully influenced the impression  conveyed


                                          24














          by  Winship's  unauthorized use  of the  IAM  service mark.   The

          parties'  preparations for  the  election  inflamed the  historic

          enmity   between   labor   and   management   and   colored   the

          communications distributed  by  both protagonists.   The  climate

          inevitably conditioned  voters to view with  suspicion any claims

          made  by either  party about  the other.   This  suspicion peaked

          shortly  before  the election,  and  that is  when  the offending

          documents surfaced.  Moreover, the documents, when received, were

          affixed  to clearly  identifiable management  propaganda.   These

          additional, relevant circumstances  counsel persuasively  against

          any realistic possibility of confusion as to 

          the source or sponsorship of the mismarked literature.

          IV.  CONCLUSION
          IV.  CONCLUSION

                    Considering  the  record  as  a  whole  in  the  light  most

          favorable  to the  summary judgment  loser, we hold  that there  is no

          triable issue of  fact as to  likelihood of confusion.   It is  simply

          inconceivable that employees who received the challenged literature at

          the height  of a  fiercely disputed  union organizing  campaign would,

          upon  even  a cursory  glance,  be  apt  to  believe that  IAM  either

          distributed or contributed in any meaningful way to these vociferously

          anti-union tracts.

                    We add a postscript.  The employer wins this appeal, but not

          our   admiration.     While  we   strongly  disapprove   of  Winship's

          misappropriation of IAM's service  mark, however, the Union has  other

          available remedies to redress  that infraction.  See, e.g.,  Linn, 383
                                                           ___  ____   ____

          U.S. at  61 (approving  state-law remedy in  analogous circumstances).


                                            25














          For  our  part, we  are  unwilling  to  stretch the  Lanham  Act  into

          unfamiliar contours simply for  the sake of punishing conduct  that we

          deplore.   While  we are  not  willing to  venture quite  as far  into

          uncharted waters as our  concurring colleague   after all,  unlike the

          authorities  on  which  she  primarily  relies,  see post,  this  case
                                                           ___ ____

          involves  neither a  political  campaign nor  a  parody    the  policy

          concerns  that undergird  her views  fortify our  resolve to  hold the

          line.   By  like token,  the special  circumstances that  the district

          court described at length,  see IAM, 914 F. Supp. at  653-56   such as
                                      ___ ___

          the noncommercial nature of  the unauthorized use, the absence  of any

          competition  between  the  parties  in  the representational  services

          market, and the fact that Winship did not appropriate the mark for use

          "in  connection with"  any services  of its  own    point in  the same

          direction.11  We need go no further.



          Affirmed.
          Affirmed.
          ________









                                Concurring Opinion Follows  
                              
          ____________________

               11We  take no  view  of the  concurring opinion's  suggested
          holding,  the grounds on  which the  district court  premised its
          ruling, or  the other theories urged by Winship in support of the
          judgment  below.   While the  Union's case  may be  vulnerable on
          several fronts,  the absence of any  meaningful confusion renders
          further comment supererogatory.

                                            26

















          Saris, U.S.D.J.



                    I  concur on the ground  that Winship Green's  misuse of the

          union's trademark in its campaign literature during the union election

          is not  a commercial use  of the mark  adumbrated by   Sections 32  or

          43(a)  of the  Lanham  Act, as  amended,  15 U.S.C.     1114(1),  1125

          (1994).

                                             I
                                             I

                    The union alleges that Winship  Green's use of its trademark

          during the election  violated Sections 32 and 43(a) of the Lanham Act.



                                             A
                                             A

                    Section   32   of  the   Lanham   Act  concerns   "trademark

          infringement" and  proscribes misuse of another's registered trademark

          in  commerce   "in  connection  with  the  sale,  offering  for  sale,

          distribution,  or  advertising  of any  goods  or  services  on or  in

          connection with  which such use  is likely to  cause confusion,  or to

          cause mistake, or to deceive."12  15 U.S.C.   1114(1)(a) (1994).
                              
          ____________________

               12  Section  32 of  the Lanham  Act,  as amended,  states in
          pertinent part:

                    (1)  Any person  who shall, without the consent  of the
                    registrant --
                         (a) use in commerce any reproduction, counterfeit,
                         copy, or colorable imitation of a registered  mark
                         in connection  with the  sale, offering  for sale,
                         distribution,  or  advertising  of  any  goods  or
                         services on  or in connection with  which such use
                         is likely to cause confusion, or to cause mistake,
                         or to deceive ...
                                         * * *
                    shall be liable in a civil action by the registrant for
                    the remedies hereinafter provided....

                                            27














                                             B
                                             B

                    Section  43(a)  provides  broader   protection,  prohibiting

          "unfair competition" by  use of any mark, registered or  not.  See Two
                                                                         ___ ___

          Pesos,  Inc. v. Taco Cabana, Inc., 505  U.S. 763, 768 (1992).  Section
          _________________________________

          43(a)  prohibits  two  types  of activities:  "false  designations  of

          origin,"   15  U.S.C.       43(a)(1)(A)  ("Prong   (A)")  and   "false

          descriptions," 15 U.S.C.    43(a)(1)(B)  ("Prong (B)").13   See  Truck
                                                                      ___  _____

          Components, Inc. v. K-H Corp., 776 F. Supp. 405, 409 (N.D. Ill. 1991);
          _____________________________

          3  J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition  
                                 _____________________________________________

          27.02[3] (3d ed.  1996) (discussing history of  the "two prongs"  of  

                              
          ____________________

          15 U.S.C.   1114(1) (1994).

               13  Section 43(a) of the  Lanham Act, as  amended, states in
          pertinent part:

                       1125.    False  designations  of  origin  and  false
                                ___________________________________________
                    descriptions forbidden
                    ______________________
                    (a)  Civil  action.   (1)  Any  person  who,  on or  in
                    connection  with   any  goods  and  services,   or  any
                    container for  goods, uses in commerce  any word, term,
                    name, symbol, or device, or any combination thereof, or
                    any false  designation of  origin, false or  misleading
                    description   of   fact,   or   false   or   misleading
                    representation of fact, which --
                         (A) is  likely to cause mistake, or  to deceive as
                         to the affiliation,  connection, or association of
                         such  person with  another  person, or  as to  the
                         origin,  sponsorship,  or approval  of his  or her
                         goods,  services,  or  commercial   activities  by
                         another person, or
                         (B)  in  commercial   advertising  or   promotion,
                         misrepresents    the   nature,    characteristics,
                         qualities, or geographic origin  of his or another
                         person's    goods,    services,   or    commercial
                         activities.
                    shall be liable  in a  civil action by  any person  who
                    believes that he or she  is or is likely to be  damaged
                    by such act.

          15 U.S.C.   1125(a) (1994) (emphasis in original).

                                            28














          43(a) --    43(a)(1)(A)  ("trademark infringement") and    43(a)(1)(B)

          ("false advertising").

                    Prong (A)14  prohibits false  designations of the  origin or

          sponsorship of goods or  services.  15 U.S.C.    1125(a)(1)(A) (1994).

          Typical claims under prong (A) would  involve a new trademark that was

          confusingly similar to an already established one, or an  attempt by a

          defendant  to "palm-off" its goods as those  of a competitor by use of

          the competitor's  mark.  See  Truck Components,  776 F. Supp.  at 409;
                                   ___  ________________

          McCarthy on Trademarks, supra, at    27.02[4] (describing these claims
          ______________________  _____

          as "trademark infringement").  

                    In  contrast,  the  protection   under  prong  (B)  is  very

          different.    Following  its  amendment  in  1988,  prong (B)  creates

          liability   for  misrepresentations   in  commercial   advertising  or

          promotion as to the  "nature, characteristics, qualities or geographic

          origin" of another person's goods or services.  15 U.S.C.   1125(a)(1)
                     _______

          (1994); see also  Trademark Law Revision Act, Pub. L.  100-662,   132,
                  ________

          102 Stat. 3946 (1988); U.S. Healthcare, Inc. v. Blue  Cross of Greater
                                 _______________________________________________

          Philadelphia, 898 F.2d 914,  921 (3d Cir. 1990) (discussing  effect of
          ____________

          1988 amendment  to Lanham Act);   McCarthy on Trademarks, supra,  at  
                                            ______________________  _____

          27.02[4].   The  Senate Committee  Report accompanying  this amendment

          explained the need for this addition to the Act as follows:

                         In  one important  area, however,  the courts
                    have refused  to apply  the section.   Based  on a
                    1969 seventh  circuit  decision, the  courts  have
                    held   that  Section   43(a)   applies   only   to
                    misrepresentations  about  one's own  products and
                              
          ____________________

               14  In 1992 Congress redesignated paragraphs  (1) and (2) of
          section 43(a) as subparagraphs  (A) and (B).  See  Oct. 27, 1992,
                                                        ___
          Pub. L. 102-542,   3(c), 106 Stat. 3568.

                                       29














                    services; it does not extend to misrepresentations
                    about competitor's products  or services.  Bernard
                                                               _______
                    Food  Indus. v.  Dietene Co.,  415 F.2d  1279, 163
                    ____________________________
                    USPQ 265  (7th Cir. 1969), cert.  denied, 397 U.S.
                                               _____________
                    912, 164  USPQ 481  (1970).  The  committee agrees
                    that this  effect is  illogical on both  practical
                    and  public  policy  levels  and  that the  public
                    policy  of deterring  acts  of unfair  competition
                    will be served if Section 43(a) is amended to make
                    clear  that   misrepresentations  about  another's
                    products are as  actionable as  misrepresentations
                    about one's own.

          S. Rep. No. 515,  100th Cong., 2d Sess. (1988), reprinted in 1988
                                                          ____________

          U.S.C.C.A.N.  5577; see also  McCarthy on Trademarks, supra, at  
                              ________  ______________________  _____

          27.02[4] (stating that 1988 amendment codified "two  prongs" of  

          43(a): "part  one relat[ing]  to .  .  . unregistered  trademark,

          tradename  and  trade dress  infringement  claims,  and part  two

          relat[ing] to  . . . false  advertising (as well  as trade libel)

          claims").  Thus, prong (B) prohibits misrepresentations about the

          quality   of  a   defendant's  own  goods   --  even   where  the

          misrepresentations do not tend to confuse its goods with those of

          a competitor or otherwise misstate the origin  of the goods -- as

          well  as affirmative misrepresentations about another's products.

          Truck  Components,  776 F.  Supp. at  409  (citing In  re Uranium
          _________________                                  ______________

          Antitrust Litigation,  473 F. Supp.  393, 408 (N.D.  Ill. 1979));
          ____________________

          see also McCarthy  on Trademarks, supra,  at   27.04  (describing
          ________ _______________________  _____

          elements of prima facie case under prong (B)). 
                                                         

                                          II
                                          II

                    I am in agreement with the majority that the origin and

          sponsorship of  the allegedly  infringing documents was  never in

          doubt.  With  respect to section  43(a) of the Lanham  Act, prong

          (A)  is  inapplicable because  there  is  no  evidence,  or  even

                                          30














          contention,  that the  company used the  union's mark  to deceive

          bargaining unit members as to the affiliation of the company with

          the union or as to the  sponsorship of its services by the union.

          Quite the contrary. 

                    However, there is evidence  that Winship Green used the

          union's  trademark to misrepresent the characteristics and nature

          of the  union's services (i.e., the  amount of union  dues or the

          purportedly draconian  results of  failure to pay  them), thereby

          implicating prong (B), governing  false descriptions.  Cf. Energy
                                                                 ___ ______

          Four,  Inc. v. Dornier Medical  Systems, Inc., 765  F. Supp. 724,
          _____________________________________________

          730   (N.D.   Ga.  1991)   (describing   cause   of  action   for

          misrepresentation  under  Section   43(a)(1)(B)  and   collecting

          cases);  Brandt Consol., Inc. v. Agrimar Corp., 801 F. Supp. 164,
                   _____________________________________

          174  (C.D. Ill. 1992) (same); McCarthy on Trademarks, supra, at  
                                        ______________________  _____

          27.04   (same).     Because  this   evidence  that   the  company

          misrepresented  the union's  services may  be sufficient  for the

          fact-finder to find confusion as to the "nature, characteristics,

          [or]  qualities"  of the  union's  services,  I would  not  allow

          summary judgment for the company under prong (B) on the ground of

          a lack of confusion.

                                         III
                                         III

                    A  firm ground for summary judgment, it seems to me, is

          that  the Lanham Act  creates no liability  because the deception

          did not occur in connection with commercial sales or advertising,

          as required under the Act, but rather in campaign hand-outs.   

                    The Lanham Act protects only against certain commercial
                                                                 __________


                                          31














          uses of trademarks.   Section 32 governs the  use of a registered

          mark "in commerce . . . in connection with the sale, offering for

          sale, distribution, or advertising of any goods or services."  15

          U.S.C.   1114(1)(a) (1994).  Section 43(a) is likewise limited to

          uses of marks "in commerce," 15 U.S.C.   1125(a)(1) (1994), which

          the Act  defines as  using or  displaying a mark  in the  sale or

          advertising  of goods or services,15 see 15 U.S.C.   1127 (1994).
                                               ___

          And, section 43(a)(1)(B) limits misrepresentation claims to those

          cases involving "commercial advertising or promotion."  15 U.S.C.

            1125(a)(1)(B) (1994).

                    While  there is  no appellate  case directly  on point,

          trial  courts have rejected efforts  to extend the  Lanham Act to

          cases  where  the  defendant  is  not  using  or  displaying  the

          trademark in the sale, distribution  or advertising of its  goods

          or services.  See  Lucasfilm Ltd. v. High Frontier,  622 F. Supp.
                        ___  _______________________________

          931, 934 n.2 (D.D.C. 1985) (rejecting  the claim that advertising

          companies could be  held liable  for using the  trade name  "Star

          Wars"  in the political debate over a national policy because the
                              
          ____________________

               15 15 U.S.C.   1127 states in pertinent part:

                    The term "use in commerce" means the bona fide use of a
                    mark  in the  ordinary  course of  trade, and  not made
                    merely to reserve  a right in a mark.   For purposes of
                    this chapter, a  mark shall be deemed  to be in use  in
                    commerce --
                                        * * *
                         (2)  on services  when it is used or  displayed in
                         the  sale  or  advertising  of  services  and  the
                         services are rendered in commerce, or the services
                         are  rendered  in more  than one  State or  in the
                         United States and a foreign country and the person
                         rendering the  services is engaged  in commerce in
                         connection with the services.

                                          32














          trademark laws only reach activities in which a trademark is used

          in connection with selling  or advertising services of commercial

          or noncommercial  defendants); Stop the Olympic  Prison v. United
                                         __________________________________

          States Olympic  Comm., 489  F. Supp.  1112, 1124 (S.D.N.Y.  1980)
          _____________________

          (expressing serious doubts as to  whether the Lanham Act  applies

          to the deceptive use of the Olympic trademark by a group opposing

          the  conversion  of Olympic  facilities  into a  prison,  in part

          because "there is no suggestion that the alleged deception was in

          connection with  any goods  or services");  Reddy Communications,
                                                      _____________________

          Inc.  v. Environmental  Action  Found.,  477  F. Supp.  936,  946
          ______________________________________

          (D.D.C. 1979)  (rejecting  claim that  an  environmental  group's

          caricature of an energy industry service mark violated the Lanham

          Act  where the  company failed  to prove  that  the environmental

          group used the service mark to "identify or  promote" the sale of

          its  publications);  see  generally  L.L.  Bean,  Inc.  v.  Drake
                               ______________  ____________________________

          Publishers, Inc.  811 F.2d 26,  32 (1st Cir. 1987) (holding under
          ________________

          a  state anti-dilution state that  a parody was  not a commercial

          use of plaintiff's mark because the publisher "did not use Bean's

          mark to  identify or  market  goods or  services to  consumers"),

          cert. denied, 483 U.S. 1013 (1987).
          ____________

                    Nonetheless, some  forms of union-related  activity may

          constitute commercial sale or advertising that is protected under

          the  Act.   See, e.g.,  Brach  Van Houten  Holding, Inc.  v. Save
                      _________   _________________________________________

          Brach's Coalition  for Chicago, 856  F. Supp. 472,  475-476 (N.D.
          ______________________________

          Ill. 1994) (finding Lanham  Act protection applicable where union

          used company logo in connection with the sale and distribution of


                                          33














          its buttons and stickers and solicitation of donations to support

          the coalition's opposition to  a plant closing and was  likely to

          cause confusion as to the company's affiliation with, or approval

          of,  defendant's proposals);  Marriott Corp.  v. Great  Am. Serv.
                                        ___________________________________

          Trades  Council,  AFL-CIO,  552  F.2d 176,  179  (7th  Cir. 1977)
          _________________________

          (rejecting   the  union's  contention  that  the  National  Labor

          Relations  Board had  exclusive jurisdiction  over an  action for

          trademark  infringement arising  under the  Lanham Act  where the

          union allegedly  used the  company's trademark  in advertisements

          which suggested an affiliation between the company and the  union

          in advertising its services  to prospective employees).  However,

          such commercial activity is simply not present here.

                    Accordingly, the union's  limited property right  under

          the  Lanham Act against commercial misuse of its trademark is not

          implicated  in this case.  See generally Lucasfilm Ltd., 622 F.2d
                                     _____________ ______________

          at 933 ("It is well established that the property right conferred

          by  a trademark is very  limited.").  While  the union rightfully

          complains about  the company's unfair  tactics, it must  find its

          federal  remedy  for  deceptive  campaign  literature  under  the

          National  Labor Relations Act, 29  U.S.C.    141  et seq. (1994).
                                                            _______

          See Linn  v. United  Plant Guard Workers  of Am., Local  114, 383
          ___ ________________________________________________________

          U.S. 53, 60 (1966)  (permitting libel action under state  law for

          defamatory  statements  published  during  a  union  organization

          campaign and discussing authority of the National Labor Relations

          Board  to set  aside elections  where "a  material fact  has been

          misrepresented  in the  representation campaign;  opportunity for


                                          34














          reply has  been lacking;  and  the misrepresentation  has had  an

          impact on the free  choice of the employees participating  in the

          election").  

                    Because  the  Court  reaches  the  same conclusion  for

          somewhat different reasons, I join in its judgment.












































                                          35









